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             Thermal conductivity is the process by which thermal energy is transported through matter, giving the material the ability to conduct
             heat. Conductivity, or conduction, is normally measured in watts per kelvin per meter. A watt is a unit of power, typically de ned either
             as volts time’s amps or as joules of energy per second. Kelvin is an absolute unit of temperature, where zero kelvins is absolute zero.

             Materials with good thermal conductivity, such as certain metals, transmit large quantities of heat quickly. For instance, the copper
             bottom of a cooking pot heats up quickly and disperses that heat through the rest of the pot. Poor thermal conductors carry heat
             slowly, which can be advantageous in building materials.


             Thermal Conductivity in Certain Metals
             Metals contain electrons that are primarily responsible for conducting heat. The highest thermal conductivities are present in the
             purest of metals in their annealed state. Metals commonly encountered in low temperature work include stainless steel, carbon steel,
             and aluminum.
             In some metals, the thermal conductivity is a strong function of the purity and the condition of the metal. For cryogenic (cold
             producing) applications, copper and aluminum are used where good thermal conductivity is required. Stainless steel is used in
             applications where a relatively poor thermal conductivity is suitable. This would be applicable to infrastructure for things like structural
             framing members.

             Conductivity in Aluminum
                                                                                                                                                                                                     󰊐
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             Pure aluminum has a thermal conductivity of about
             235 watts per kelvin per meter. Aluminum alloys
             tend to have much lower conductivity. However,
             this is rarely as low as iron and steel. Aluminum is
             often used in electronic heat sinks due to the
             metal’s good thermal conductivity.

             Conductivity in Carbon Steel
             The thermal conductivity of carbon steel is much
             lower    than      that     of    aluminum.         Its    thermal
             conductivity is around 45 watts per kelvin per
             meter. This material is a good and economical
             choice for building structural components.

             Conductivity in Stainless Steel
             Stainless steel has an even lower conductivity than carbon steel at about 15 watts per kelvin per meter. Stainless steel is an ideal
             material for structures in corrosive environments or for Architecturally Exposed Structural Steel (AESS) applications.


             Bene ts of Stainless Steel
             Materials with low thermal conductivity prevent heat transmission. This can result in better energy e ciency and stability of the
             material. Stainless steel’s lower thermal conductivity makes it a good material for building facades, glass applications and curtain wall
             systems. Stainless steel also remains stable when in contact with heat, such as during a manufacturing process or in food processing
             equipment such as ovens and conveyors.


             Producing Pro les for Your Needs
             Stainless Structurals is a worldwide leader in the production of stainless steel structural shapes and custom pro les, including sharp
             cornered pro les. We use a variety of manufacturing technologies to provide our customers with the highest quality components for
             many di erent applications. Our Laser Fusion technology is especially impressive. Please contact us for more in depth information
             about our products and innovative manufacturing processes.                                                                                                                       󰊐
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